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                               Exhibit K
Case 1:18-cv-00950-PTG-JFA Document 711-18 Filed 08/03/20 Page 2 of 6 PageID# 31821




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                                       Scissor Sisters / Scissor Sisters.


              Type of Work: Sound Recording
Registration Number / D ate:SR0000355220 / 2004-09-13
                           Title: Scissor Sisters / Scissor Sisters.
                     Imprint: c2004.
         Publisher Number: Universal Records B0002772-02
                Description: Compact disc.
                         Notes: Photography: Tara Darby, Alan Clarke.
        Copyright C laim ant:© ® Polydor, Ltd. (UK)
           Date of Creation: 2004
        Date of Publication: 2004-02-02
Authorship on Application: sound recording & pictorial matter: Polydor, Ltd. (UK), employer for hire.
                   Contents: Laura - Take your mama - Comfortably numb - Mary - Lovers in the
                             backseat - Tits on the radio - Filthy/Gorgeous - Music is the victim -
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                         Names: Darbv. Tara
                                 Clarke, Alan
                                 Scissor Sisters
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